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 8                                   UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN FRANCISCO DIVISION

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12   SARAH ANDERSEN, ET AL.,                         Case No. 3:23-cv-00201-WHO

13                     Plaintiffs,                   Hon. William H. Orrick

14          v.                                       [PROPOSED] ORDER GRANTING
                                                     DEFENDANTS STABILITY AI LTD.
15   STABILITY AI LTD., ET AL.,                      AND STABILITY AI, INC.’S MOTION
                                                     TO DISMISS PLAINTIFFS’ FIRST
16                     Defendants.                   AMENDED COMPLAINT

17
                                                     Date:      Wednesday, May 8, 2024
18                                                   Time:      2:00 p.m.
                                                     Courtroom: Ctrm 2, 17th Floor
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     [PROPOSED ] ORDER GRANTING STABILITY AI’S
     MOTION TO DISMISS                              1
     CASE NO. 3:23-CV-00201-WHO
     sf-5703300
     Case 3:23-cv-00201-WHO Document 162-1 Filed 02/08/24 Page 2 of 2



 1          Having considered the papers submitted and arguments presented in support of and in

 2   opposition to Defendants Stability AI Ltd. and Stability AI, Inc.’s (collectively, “Stability AI”)

 3   Motion to Dismiss, the Court hereby GRANTS Stability AI’s Motion to Dismiss. Counts II, III,

 4   and IV of Plaintiffs’ First Amended Complaint, as well as the newly added proposed class

 5   representatives, are DISMISSED WITH PREJUDICE.

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 7          IT IS SO ORDERED.

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      Dated: ________________________
 9                                                        The Hon. William H. Orrick
                                                          United States District Judge
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     [PROPOSED ] ORDER GRANTING STABILITY AI’S
     MOTION TO DISMISS                                    2
     CASE NO. 3:23-CV-00201-WHO
     sf-5703300
